                                                                                                  Case 2:21-cv-01016-GMN-DJA Document 10 Filed 06/14/21 Page 1 of 3


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                                                                                                  Attorneys for Plaintiffs Judy Sabella and Timothy Sabella
                                                                                              7

                                                                                              8                                UNITED STATES DISTRICT COURT
                                                                                              9                                           DISTRICT OF NEVADA
                                                                                             10
                                                                                                  JUDY SABELLA, individually, and TIMOTHY                 Case No.: 2:21-cv-01016-GMN-DJA
                                                                                             11   SABELLA, individually,
       ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




                                                                                             12                             Plaintiffs,
                                                                                                                                                          STIPULATION AND [PROPOSED]
                                                                                             13                                                           ORDER TO STAY THE CASE AND
                                                                                                  vs.
                                                                                                                                                          COMPEL ARBITRATION BEFORE
                                                                                             14                                                           THE AMERICAN ARBITRATION
                                      A PROFESSIONAL CORPORATION


                                         LAS VEGAS, NEVADA 89106

                                                                   LAS VEGAS, NEVADA 89106
                                         801 SOUTH RANCHO DRIVE




                                                                                                  WYNDHAM VACATION RESORTS, INC.;
                                           QUAIL PARK, SUITE D-4




                                                                                                                                                          ASSOCIATION
LAW OFFICES




                                                                                             15   JOHN DOES 1-50, and ROE CORPORATIONS 1-
                                                                                                  15, inclusive.
                                                                                             16

                                                                                             17                              Defendant.

                                                                                             18
                                                                                                         Plaintiffs JUDY SABELLA, individually, and TIMOTHY SABELLA, individually
                                                                                             19
                                                                                                  (collectively, “Plaintiffs”), and Defendant WYNDHAM VACATION RESORTS, INC.
                                                                                             20
                                                                                                  (“Defendant”), by and through their respective counsels of record, hereby jointly submit the
                                                                                             21
                                                                                                  following stipulation requesting that this Court stay this action and compel arbitration of the
                                                                                             22   parties’ dispute for administration before the American Arbitration Association (“AAA”) under
                                                                                             23   the AAA’s Consumer Rules for Arbitration. To the extent the AAA declines to administer the
                                                                                             24   arbitration, the Parties request that this Court retain jurisdiction to appoint a substitute arbitrator

                                                                                             25   mutually agreed upon by the Parties, or if the Parties cannot agree upon an arbitrator, by selecting

                                                                                             26   one arbitrator from names submitted by the Plaintiffs and Defendant with each side having the

                                                                                             27   right to offer two potential arbitrators.    This stipulation is brought pursuant to the Federal
                                                                                                  Arbitration Act, 9 U.S.C. § 1, et seq.
                                                                                             28
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                                                                                              1
                                                                                                                                               RECITALS
                                                                                              2
                                                                                                         Plaintiffs filed a Complaint in the Eighth Judicial District Court, Clark County, Nevada, on
                                                                                              3   April 19, 2021, against Defendant. (ECF No. 1.) Defendant removed this action to this Court on
                                                                                              4   May 27, 2021. (Id.) Defendant’s response to the Complaint is due on June 18, 2021. (ECF No.

                                                                                              5   7.)

                                                                                              6          Plaintiffs’ claims arise from their purchase of a timeshare interest from Defendant under

                                                                                              7   that certain written purchase agreement entitled ClubWyndham Access Vacation Ownership Plan
                                                                                                  Retail Installment Contract Purchase and Security Agreement (Nevada), Contract No. 00123-
                                                                                              8
                                                                                                  1807991, dated April 20, 2018 (the “Purchase Agreement”), which includes an express provision
                                                                                              9
                                                                                                  to arbitrate disputes arising under the Purchase Agreement.
                                                                                             10
                                                                                                         Plaintiffs agree that all of their claims in this action are subject to the arbitration provisions
       ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




                                                                                             11
                                                                                                  in the Purchase Agreement that is the subject of this litigation.
                                                                                             12
                                                                                                         NOW, THEREFORE, the Parties stipulate and agree as follows:
                                                                                             13
                                      A PROFESSIONAL CORPORATION




                                                                                                         1.      The Parties agree to stay this action to allow Plaintiffs to file a demand for
                                         LAS VEGAS, NEVADA 89106

                                                                   LAS VEGAS, NEVADA 89106
                                         801 SOUTH RANCHO DRIVE
                                           QUAIL PARK, SUITE D-4
LAW OFFICES




                                                                                             14
                                                                                                  arbitration with the American Arbitration Association (“AAA”) and pending the resolution of the
                                                                                             15   same through the arbitration process.
                                                                                             16          2.      The Parties agree that arbitration of this dispute may be properly filed in Las Vegas,
                                                                                             17   Nevada with the AAA under the AAA Consumer Rules, regardless of any conflict between the
                                                                                             18   AAA Consumer Due Process Protocol and the limitations of liability clauses in the Purchase
                                                                                             19   Agreement. The Parties reserve their rights to adjudicate the validity and enforceability of those
                                                                                             20   clauses before the arbitrator.

                                                                                             21          3.      The Parties agree that if the AAA declines to administrate this dispute, the Parties

                                                                                             22   shall work in good faith to select a mutually agreeable substitute arbitrator located within the

                                                                                             23   agreed upon arbitration forum of Las Vegas, Nevada. Upon agreement to a substitute arbitrator,

                                                                                             24   the Parties will file a stipulation for this Court to appoint the mutually agreed upon substitute

                                                                                             25   arbitrator pursuant to 9 U.S.C. § 5. In the event the Parties cannot come to an agreement on a

                                                                                             26   substitute arbitrator, the Parties agree to file a Joint Motion pursuant to 9 U.S.C. § 5 wherein each

                                                                                                  side will have the right to name up to two substitute arbitrators for this Court to choose from. If a
                                                                                             27
                                                                                                  substitute arbitrator is appointed, the payment of all fees for registration, filing, and administration
                                                                                             28

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                                                                                                  Case 2:21-cv-01016-GMN-DJA Document 10 Filed 06/14/21 Page 3 of 3


                                                                                              1
                                                                                                  of the arbitration, and the payment of arbitrator fees, shall continue to be governed by the AAA
                                                                                              2
                                                                                                  Consumer Rules and applicable law, unless otherwise stated in the Purchase Agreement.
                                                                                              3
                                                                                                         4.      The Parties agree that this Court shall retain jurisdiction to confirm the arbitration
                                                                                              4
                                                                                                  award, if any, and to enter judgment, if any, for purposes of enforcement.
                                                                                              5          5.      The Parties agree that periodic status checks in this matter are appropriate upon
                                                                                              6   further order of the Court.
                                                                                              7
                                                                                                   DATED this 14th day of June, 2021.              DATED this 14th day of June, 2021.
                                                                                              8
                                                                                                   ALBRIGHT, STODDARD, WARNICK                     ARMSTRONG TEASDALE LLP
                                                                                              9
                                                                                                    & ALBRIGHT
                                                                                             10
                                                                                                       /s/ Jorge L. Alvarez, Esq.                       /s/ Michelle D. Alarie, Esq.
       ALBRIGHT, STODDARD, WARNICK & ALBRIGHT




                                                                                             11    By:________________________________             By:__________________________________
                                                                                                   G. MARK ALBRIGHT, ESQ., NBN 394                 MICHELLE D. ALARIE, ESQ., NBN 11894
                                                                                             12    JORGE L. ALVAREZ, ESQ., NBN 14466               3770 Howard Hughes Parkway, Suite 200
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                                                                                             13
                                      A PROFESSIONAL CORPORATION




                                                                                                   Las Vegas, Nevada 89106
                                         LAS VEGAS, NEVADA 89106

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                                                                                                                                                   Attorneys for Defendant Wyndham Vacation
LAW OFFICES




                                                                                             14    Attorney for Plaintiffs Judy Sabella and        Resorts, Inc.
                                                                                             15    Timothy Sabella

                                                                                             16
                                                                                                                                               ORDER
                                                                                             17
                                                                                                         Based upon the foregoing stipulation and good cause appearing, this entire action is hereby
                                                                                             18   ordered stayed pending resolution of the Parties’ dispute by binding arbitration as provided for in
                                                                                             19   the Purchase Agreement. It is further ordered that that this action be compelled to arbitration to be
                                                                                             20   administered by the American Arbitration Association under the AAA’s Consumer Rules for
                                                                                             21   Arbitration.
                                                                                             22          IT IS SO ORDERED.
                                                                                             23

                                                                                             24                                                         UNITED STATES DISTRICT JUDGE
                                                                                                                                                        DATE:_________________________
                                                                                             25

                                                                                             26

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